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 Tiffany Grays


 See Attached




           AMENDED VERIFIED
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 Tiffany Grays PO Box 472322 Aurora, CO 80047

  720-623-1883 Legalgrays@gmail.com




              Rico Munn | Edu. Svcs. Center 1: 15701 E 1st Ave. Ste. 206, Aurora, CO 80011


              303-365-7800 | supt@aps.k12.co.us



             Elizabeth Francis | 16500 Arapahoe Rd. Boulder, CO 80301

             720.561.8091 | elizabeth.francis@bvsd.org



              Michael W. Schreiner | 1800 Broadway, Suite 200 | Boulder, CO 80302


              303-443-8010 | MSchreiner@celaw.com



               Cari Roberts | 15701 E 1st Ave. Ste. 206, Aurora, CO 80011
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      42 U.S.C. § 1981, 42 U.S.C. § 1983, 42 U.S.C. § 1985, 42 U.S.C. § 2000
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                           Violations of 42 U.S.C. § 1981




   49.      42 U.S.C. § 1981 guarantees equal rights under the law to all persons within the jurisdiction of the
   United States. In Hampton v. Dillard Dept. Stores, Inc. , 247 F.3d 1091, 1102 (10th Cir.2001), the Tenth
   Circuit set forth the elements of a § 1981 claim as follows: “(1) that the plaintiff is a member of a protected
   class; (2) that the defendant had the intent to discriminate on the basis of race; and (3) that the discrimination
   interfered with a protected activity as defined in § 1981.”
   50.      Plaintiff a dark-skinned Black woman is a member of protected classes.
   51.      Roberts through the unjust removal of Plaintiff from the public APS Board of Education meeting on
   February 16, 2021 continued to deprive Plaintiff’s rights as but for Roberts’ unjustified first no trespass based
   on Roberts’ known false or should have been known to be false statements which deprived Plaintiff of her
   rights to freedom of free speech, due process, equal protections, and rights of personal security due to her
   race, and/or in retaliation for her active exercising her rights, or her child’s rights to be educated in a safe
   learning enviroment in APS, violated Plaintiff’s equal rights under the First, Fifth, and Fourteenth
   Amendments of the U.S. Constitution, the Colorado Constitution, and Colorado laws C.R.S. 24-34-601(2.5)
   and C.R.S. 24-34-601 (2)(a). Roberts’ motivation is race based as, similarly situated parents who were white
   were not trespassed from all APS properties.




(Claim One Continued on Additional Pages Attached D. Statement of Claims)
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                                    Violations of 42 U.S.C. § 1985




      62.       To state a claim under 42 U.S.C. § 1985(3), a plaintiff must show the following: (1) a conspiracy; (2) for
      the purpose of depriving, either directly or indirectly, any person or class of persons of the equal protection of
      laws, or of equal privileges and immunities under the law; (3) an act in furtherance of the conspiracy; (4)
      whereby a person is either injured in his person or property or deprived of any right or privilege of a citizen of
      the United States. Griffin v. Breckenridge , 403 U.S. 88, 91, 91 S.Ct. 1790, 29 L.Ed.2d 338 (1971).
      63.       The timeline of events substantiate the multiple conspiracies.
      64.       At all relevant times Samples, Waller, Kloberdanz, Unknown APS Security Officer, Unknown
      Conspirators, Cazzell, Munn, Eyre, Schreiner, and Francis joined an ongoing Civil Rights Conspiracy while they
      were acting under the color of law when depriving Plaintiff of her rights.
      65.       Roberts, Kloberdanz, Unknown Conspirators, conspired together to and thus did deprive Plaintiff of free
      speech, due process, equal protections, and rights of personal security in violation of the First, Fifth, and
      Fourteenth Amendments of the U.S. Constitution and the Colorado Constitution on May 07, 2018 when they
      worked together to issue the first trespass from all APS properties (ref exhibits) that was later rescinded by APS
      on May 17, 2018. (ref exhibits). Kloberdanz has conspired to violate Plaintiff’s civil rights not only on February
      16, 2021, but also on May 07, 2018, when Kloberdanz issued the later rescinded (Add trespass, report, rescind
      letter) yet instill catalytic first no trespass directive for all APS properties unless Defendant Cari Roberts
      provided Plaintiff permission; substantiated by the prolonged time from the Plaintiff’s exit from Roberts’ school to
      the issuance of the no trespass directive.
      66.       Defendants Munn, Eyre, Schreiner, Francis, and/or Cazzell conspired to and thus did deprive Plaintiff’s
      rights afforded under the U.S. Constitution to deprive Plaintiff of free speech, due process, equal protections,
      and rights of personal security in violation of the First, Fifth, and Fourteenth Amendments of the U.S.
      Constitution and the Colorado Constitution with Eyre, Cazzell, and Schreiner on or about August 24, 2018
      based on Schreiner’s known false or should have been known to be false statements of Plaintiff, served a no
      trespass directive to Plaintiff for all APS properties in perpetuity requiring permission in perpetuity (Add no
      trespass), due to Plaintiff’s race, color, sex, and/or in retaliation for her active exercising her rights, or her child’s
      rights to be educated in a safe learning environment in APS, as other than Plaintiff, no one in the last 10 years
      has ever received such notice without have made verified threats to the safety of people on and property APS
      itself.
      67.       The plain language of the ordinance affirms Plaintiff’s right to be upon the premises noted in the
      Summons and Complaint, as 15771 E 1st Ave, Aurora, CO 80011 is a public building where the public can
      address the government body, Aurora Public Schools Board of Education. This building does not have a
      principal, nor a teacher, nor a staff member. It is a building used to host public and private meetings. As the
      building has neither a principal, teacher, or staff member, the only way the Plaintiff could be charged is if “a
      person entrusted with the authority to maintain and supervise the property, told [Plaintiff] not to enter or after
      being told to leave.” Sec. 94-71.(4) - Trespass. As no person entrusted to maintain and secure the property told
      Plaintiff to leave, Plaintiff held a right as member of the public to be upon said public property to address the
      public government body. This fact substantiated as the charge which prompted this complaint with the Division
      was dismissed for lack of evidence by the City of Aurora. (Exhibit E). Furthermore, Plaintiff was factually told not
      to enter by Caucasian Caplan and Ernest staff member Elizabeth Francis, who is in Boulder, Colorado, who is
      not a APS teacher, not a APS principal, APS staff member, or person who maintains and secures the building;
      making the instruction to not enter or to leave by or based upon said instruction by Elizabeth Francis, an abuse
      of discretion and authority; further substantiating the discriminatory retaliatory conduct of APS, Munn, Cazzell,
      Francis, Eyre, and Schreiner against Plaintiff.




(See additional pages attached for all other claims and continued Claim Two)
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 154. Plaintiff re-alleges the preceding paragraphs set forth above and
 incorporate them herein by reference. Plaintiff has suffered inter alia,
 severe emotional and mental distress as a result of the fraudulent
 behavior of the Defendants; all resulting in inter alia loss of life
 enjoyment, past and future pain and suffering, and an increased risk of
 harm. Past and future lost income, wages, and earnings.




           See additional pages attached for continued Relief




 /s/ Tiffany Grays, pro se


 May 11, 2022
